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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

             Plaintiffs,                            Case No. 1:20-cv-3010

 v.                                                 HON AMIT P. MEHTA

 GOOGLE LLC,

             Defendant.



 STATE OF COLORADO, et al.,

             Plaintiffs,                            Case No. 1:20-cv-3010

 v.                                                 HON AMIT P. MEHTA

 GOOGLE LLC,

             Defendant.


                                        PROPOSED ORDER

            Upon consideration of the Motion of The New York Times Company (“The Times”) for

Access to Judicial Records and Proceedings (the “Motion”), it is hereby:

               ORDERED that the Motion is GRANTED; and

               ORDERED that, as soon as possible, and by no later than 8 pm at the end of each

      hearing day, each party shall publicly release the exhibits admitted into evidence that day,

      either by making them available for download from a public website or emailing them to the

      Designated Press Representative, with each party responsible for releasing its own exhibits;

      and
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       ORDERED that these exhibits shall contain only those redactions agreed upon by the

parties (and, in cases involving third-party exhibits, by the relevant third party) or authorized

by the Court; and

       ORDERED that where a party is unable to comply with the 8 pm deadline, it shall so

notify the Court at the beginning of the following hearing day, provide an explanation for its

noncompliance, and state when the exhibit(s) will be released; and

       ORDERED that the parties shall share a copy of this order with the third parties

whose documents they expect to use as evidence at the hearing; and

       ORDERED that the Court recognizes that The Times reserves its right to object to the

sealing of exhibits while the remedies hearing is ongoing, and the Court shall endeavor to

resolve any such objections as soon as practicable; and

       ORDERED that if the parties anticipate seeking closure of the courtroom during any

testimony, they must make that request by the end of the prior hearing day, so that the press

and public have notice and an opportunity to object to closure at the start of the next hearing

day; and

       ORDERED that in the event of any closure, the Court shall order that the parties (and

where relevant, third parties), within 24 hours of the end of the closed session, review the

transcript of the closed session and propose redactions to the Court, and the Court shall then

independently review the proposed redactions and determine whether they comport with the

Hubbard factors, ordering release of any portions that do not.



   Date: ______________________                           _____________________________

                                                          Hon. Amit P. Mehta
                                                          United States District Judge
